Case 0:21-cv-61665-RAR Document 1-2 Entered on FLSD Docket 08/11/2021 Page 1 of 5




                 EXHIBIT “A”
Case 0:21-cv-61665-RAR Document 1-2 Entered on FLSD Docket 08/11/2021 Page 2 of 5




                                                 IN THE CIRCUIT COURT OF THE 17™
                                                 JUDICIAL CIRCUIT IN AND FOR BROWARD
                                                 COUNTY, FLORIDA



                                                 CASE NO.:
                                                                                21Ol3673


                                    Plaintiff   Shah i-f-A feuoel/'(Scx-oc£
    v.



                                    Defendant    [yocdf^nc^r-t, |n O

                                                SUMMONS                  DATE://[3/if
    THE STATE OF FLORIDA:                                                HOURt^J'
                                                                         D E P U TYJ>H ERIFF^
    To Each Sheriff of the State:

            YOU ARE COMMANDED to serve this summons and a copy of the complaint or
    petition in this action on defendant: C3LO        <2>t*r€’€lT’             ,_

         U)almaH-;!nG.                      ©entonyiile,Aft
           Each defendant is required to serve written defenses to the complaint or petition on:    I'lO'C \G^i 3>oulb
                                                                 (pUmhff or      plaintiffs   attorney)
    whose address is:   CorcJ^poAqS, Tl i30Gl
   within 20 days after service of this summons on that defendant, exclusive of die day of sendee,
   and to file the original of the defenses with the clerk of this court either before service on
   plaintiffs attorney or immediately after the service. If a defendant fails to do so, a default mayl
   be entered against that defendant for the relief demanded in the complaint or petition.

                                                        Dated           JUL ft 8 im
                                                        [Name of the Glerkf°ENDAO. FORMW3
                                                        As Clerk of the Court

                                                        By      KETORRA BURCH
                                                                             As D :puty Clerk


                                                             A TRUE COPY
                                                             Circuit Court Seal
Case 0:21-cv-61665-RAR Document 1-2 Entered on FLSD Docket 08/11/2021 Page 3 of 5




                                                              IN THE CIRCUIT COURT OF THE
                                                           iT" JUDICIAL CIRCUIT IN AND FOR
                                                                BROWARD COUNTY, FLORIDA

                                         Plaintiff

                   |-0T;U;ci
                                                           0 L I                    CASE NO

      v.
       Lo ClI ry-' r.1
                                  a
                                ItTPcfendant
                                                           JUL 08 2021
                                                                                   21 0 1 3 6 7 3
                                                      3v
                                                     COMPCAINT^
                   5^,fa                  dL
           PlaintiffTfe^1^^ ^ ^sues^^^endant,i^(:^rr'Q<°^7anyalleges:
                                                                                                       ©3
           1. This is an action for damages in the amount of               [specify jurisdictional
                                                                                     DATE: 7/l 3/^
           amount].
                                                                                     HOUR: ^925"
           2. Plaintiff resides at 5~1 if Ml ^                   Or U>-P             DEtilT
                                                                                     c-
           {address],CcTcj, ^Circ^lcityljfa'OisioraCounty. Florida.

           3 .Defendant resides at                                                        [address].

           _________________ [cdy].                    County, Florida or Defendant is a Florida

           Corporation doing business at L\ ip. *30 k), U U) | \ fCIT's. 1 ~fuj     Da
                                                                                           Corporate          -
           [address]}                l                              County.                   109.      2Vn
           4.OnQlICRj I ~) {date]
                                                                         fieO'torw' | (cj PtR
                                                                                         127
           TL     i.oGS      o±/\-\-?riCj (A3Glmctr-F <rr\ Cp t Uj 0^9.00
                                                            QA       W-O- Wi p btj ikg_ cqpB
           £pr\p\n^.
                             (^5 .
                                   ^y^-jh-jSagQ- fewu.
                             AhojQCI
                                                              1                  porlgog
           {Of­

                                                                                 fset form storemen:

           01 facts on which claim for reliefagainst defendant is based].
Case 0:21-cv-61665-RAR Document 1-2 Entered on FLSD Docket 08/11/2021 Page 4 of 5




        5. Plaintiff is entitled to relief from defendant under the above facts on the basis of

       defendant's     IP\             -<2S\CG

        [negligence or breach of coniraci or other legal basis for relief], by reason of
                                                                  lofr)
           rrv                            POe (V n \ \ i r\ ^rO^i                    rr)(_v

        hi P _uit^h_ccxcte (OS he-
        ~tWgm                         p(a.r~^ Cncj         1 (-yf     Q~r~Y$ TT        L-COS.

                               S^DTP r-Q 1^(0                       Inorli \
         -07 i-h nic
                       5                                  3                    f- -IQ)^^

             [specifyfacts showing entitlement ofplaintiffto relieffrom defendant].

        6. The items of I Qj urxjinjury or damage] to which plaintiff is entitled to retici

        from defendant include:
                                                     .:              ckoOirPP                               5
        Kip K trSi-fiS j 1 lifiic rrt-ffj- -hg/rlbni~h<
                                                             '                           fo+vre rrs^A Co_j bl I
                                                          add: Plaintiff has agreed to pa$a'r)  ^      ^9
        1.[Ifexpresslyprovidedfor by statute or contract,

        reasonable attorney's fee and is entitled to recover attorney's fees in (his action

        pursuant to Section               of the Florida Statutes or Paragraph                of the

        contract entered into between plaintiff and defendant].

             As a result, plaintiff requests judgment against defendant for damages,
         /
                     ff applicable, add: attorneyfees], costs of suit, and any other and further

         relief as the court may deem proper:

         [If desired, add: Plaintiff                    (name), demands a jury trial in the

         above-entitled action].
                     Dated Qljo'l/ckl
Case 0:21-cv-61665-RAR Document 1-2 Entered on FLSD Docket 08/11/2021 Page 5 of 5




                                                                                                "U
                                             igfaature]
                                          Print name:      6ih ftCc HuUO-e 11- (3t)^
                                          Print address: S') I \ VJlO OOTH       Qj^ \A( i
                                          Phone:         -^.3^- Qc^l 3                ^ n>\^
                                                                                                                       ^3d>tD
      State of Florida      )

      County of Broward )

        Before me, the undersigned authority, personally appeared 3             1 ~h^-|it>uVUl/                  6^
                                                            , who was sworn and says that
        he/she is the authorized agent/employee of the corporate plaintiff, and that the contents
        of the foregoing complaint/petition are true and correct.

         Sworn to or affirmed and subscribed before me on the              day of
                                                                                    OjC ('-/ 0^1

                            JuU
      [Signature ofnotary public]
      [Print, type, or stamp commissioned name of notary public]
         Personally known              or produced identification
         Type of identification produced           ■ CM                                 CAROL L. VIOLA
                                                                                    Commission # HH 053008
                                                                                    Expires December 20,2024
                                                                           orfV     Bondad Thw BodQol Notary Swvfecs
